Case 5:05-cr-00019-MCR-LB   Document 118   Filed 12/13/05   Page 1 of 7
Case 5:05-cr-00019-MCR-LB   Document 118   Filed 12/13/05   Page 2 of 7
Case 5:05-cr-00019-MCR-LB   Document 118   Filed 12/13/05   Page 3 of 7
Case 5:05-cr-00019-MCR-LB   Document 118   Filed 12/13/05   Page 4 of 7
Case 5:05-cr-00019-MCR-LB   Document 118   Filed 12/13/05   Page 5 of 7
Case 5:05-cr-00019-MCR-LB   Document 118   Filed 12/13/05   Page 6 of 7
Case 5:05-cr-00019-MCR-LB   Document 118   Filed 12/13/05   Page 7 of 7
